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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
Joseph V. Sweeney, Jr. and Linda P. Sweeney,           :       Chapter 7
                                                       :
                        Debtors.                               Bky. No. 22-11923 (PMM)
                                                       :

                                            ORDER
        AND NOW, upon consideration of the Motions for the Admission of Sean D. Johnson to

Practice Pro Hac Vice (doc. #28, “the Motion”), it is hereby ORDERED that:

1.    The Motion is GRANTED.

2.    Effective upon the date of the entry of this Order or the date of the payment of the admission

     fee required by the district court, whichever is later, Sean D. Johnson is admitted to practice

     before this court in this bankruptcy case and any related adversary proceedings.




Date:11/1/22
                                               PATRICIA M. MAYER
                                               U.S. BANKRUPTCY JUDGE
